51 F.3d 266
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Willie JEFFERSON, Plaintiff-Appellant,v.Ms. EPPERSON, Head Nurse;  Elnora Miller, Defendants-Appellees.
    No. 95-6117.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 15, 1995.Decided April 11, 1995.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.  David G. Lowe, Magistrate Judge.  (CA-94-194).
      Willie Jefferson, Appellant Pro Se.  John Baldwin Catlett, Jr., Carlyle Randolph Wimbish, III, SANDS, ANDERSON, MARKS &amp; MILLER, Richmond, VA, for appellees.
      Before RUSSELL and WILLIAMS, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the magistrate judge's orders denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.*  Our review of the record and the magistrate judge's opinions discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the magistrate judge.  Jefferson v. Epperson, No. CA-94-194 (E.D. Va.  Nov. 1, 1994;  Dec. 21, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    
      
        *
         The parties consented to jurisdiction of the magistrate judge under 28 U.S.C.A. Sec. 636(c) (West 1993)
      
    
    